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            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                       8:06CR211
                              )
          v.                  )
                              )
MARIO DELGADO-PAZ,            )                        ORDER
                              )
               Defendant.     )
______________________________)


           The Court has been advised that defendant wishes to

enter a plea.    The Rule 11 hearing will be scheduled before the

undersigned, and the hearing presently scheduled before the

Honorable Thomas D. Thalken on September 1, 2006, is cancelled.

Accordingly,

           IT IS ORDERED that a Rule 11 hearing in this matter is

scheduled for:

                 Thursday, August 31, 2006, at 2:30 p.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

           DATED this 25th day of August, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
